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                  FOR THE EASTER.'l DISTRICT OF PENNSYLVANIA

PACLI~E    IIARRIS

                         v.
SAFETY BUS SERVICE, INC.                                            5·. I qfJlffi5.b
                                              .       ~o.                       MAR 1S 2fn9

  DEFENDA."ff, SAFETY BUS           SERVIC~, INC'S NOTICE OF :;;~~t
     ACTION TO FEDERAL COGRT, EASTERN DISTRICT OF PENNSYLVANIA

       AND NOW comes, Defendant, Safety Bus Service, Inc., by and through its undersigned

counsel, Marshall Dennehey Warner Coleman & Goggin, hereby gives notice of the Removal of

the above-captioned action to this Court pursuant to 28 U.S.C. §1441 and §1446. The grounds

for removal are as follows:

       1. Plaintiff, Pauline Harris, filed a Civil Action Complaint in connection with a bus

incident that occurred on September 21, 2018 while she was traveling in Lancaster County,

Pennsylvania. A true and correct copy of Plaintiffs Complaint is attached hereto as Exhibit "A".

       2. Plaintiff, Pauline I larris, alleges that she is a resident of 927 E. Sedgwick Street,

Philadelphia, Pennsylvania 19140. See Exhibit "A".

       3. Plaintiff alleges that Defendant, Safety Bus Service, Inc. is a business entity with an

office located at 1713 Market Street, Suite 38, Philadelphia, PA 19103. See Exhibit "A".

       4. Defendant, Safety Bus Service, Inc. is a New Jersey corporation with a principal

place of business at 7200 Park Avenue, Pennsauken, New Jersey 08109. See Affidavit attached

hereto as Exhibit "B".

       5. Any civil action brought in the State Court of which the District Courts of the United

States have original jurisdiction, may be removed by the defendant or the defendants, to the
                Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 2 of 12



District Court of the United States for the district and division embracing the place where such

action is pending." 28 U.S.C. § 144l(a).

           6. Because Philadelphia County is located in the Eastern District of Pennsylvania,

removal to this Court is appropriate.

           7. Under 28 U.S.C. § 1332(a), this Court has diversity jurisdiction only if each Plaintiff

is a citizen of a different state than each Defendant. See, e.g., Norman v. C & F, Inc., No. 01-

5677, 2002 U.S. Dist. LEXIS 8818 (E.D. Pa. May 15, 2002). The relevant time for determining

the status of a party's citizenship for the purpose of diversity jurisdiction is the time the suit is

filed. Id.

           8. Citizenship of an individual arises from the intention to establish domicile. See

Krasnov v. Dynan, 465 F.2d 1298, 1300 (3d Cir. 1972). Where one lives is prima facie evidence

of domicile. Id. Consequently, it is averred that the Plaintiff is a citizen of Pennsylvania.

           9.    A corporation shall be deemed to be a citizen of any state by which it has been

incorporated and of the state where it has its principal place of business. 28 U.S.C. §1332

(c)(l ).

           10. Furthermore, a corporation is a citizen of the state where its nerve center is located.

Hertz v. Friend, 559 U.S. 77 (2010)

           11. For the purposes of these proceedings, there exists a complete diversity of citizenship

between Plaintiff and Defendant, and the United States Court for the Eastern District of

Pennsylvania has original jurisdiction pursuant to 28 U.S.C. § 1332.

           12. Section 1332 provides for diversity jurisdiction when the amount in controversy

exceeds $75,000.00 and involves the citizens of different states. See 28 C.S.C. § 1332(a)(l).
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       13. In this case, Plaintiff alleges injuries which include "fractures of the left transverse

processes ofT8, T9, and TIO, fractures of the left ribs 7 through 11, a tom rotator cuff of the left

shoulder, left shoulder subachromial bursitis, and various other ills and injuries". See Exhibit

"A", paragraph 9.

        14. Plaintiff has plead an amount in controversy in excess of $50,000.00 and based upon

the injuries alleged in her Complaint, it is believed that the damages in this case would be in

excess of $75,000.00.

        15. Therefore, after a reasonable reading of the Complaint, one must conclude that the

value of potential damages claimed by Plaintiff exceeds the jurisdictional amount of $75,000.00.

See Johnson v. Kofsco Wholesale, 99-3576, 1999 W.L. 740690 at 3(E.D.Pa. Sept. 22, 1999).

        16. Defendant was served with process in or around February 22, 2019. This Notice of

Removal has been filed within thirty (30) days after receipt by Defendant through service or

otherwise of a copy of the initial pleadings setting for the claim for relief upon which the action

is based. See 28 U.S.C. 1446(b)(I).

        17. Therefore, this case case is appropriate for removal from state court to the Cnited

States District Court, Eastern District of Pennsylvania, pursuant to 28 U.S.C. § 1332(a)(l) and§

1441 (a), because complete diversity of citizenship exists between the Plaintiff and the

Defendant, and the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

       18. Written notice of the filing of the ;\otice of Removal was given to all adverse parties

in accordance with 28 U.S.C. § 1446(d) and is noted in the attached Certificate of Service.

       19. Copies of all process, pleadings, and orders served upon defendant are attached hereto

as exhibits in accordance with 28 U .S.C. § 1446(a). See Exhibit "A".
         Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 4 of 12



       WHEREFORE, Defendant requests this Honorable Court remove this action from the

Court of Common Pleas of Philadelphia County, Pennsylvania, to the United States District

Court for the Eastern District of Pennsylvania.




                                                   MAK 7222
                                             Mark T. Riley, Esquire
                                             Michele A. Krengel, Esquire
                                             :vlarshall Dennehey Warner Coleman & Goggin
                                             620 Freedom Business Center, Suite 300
                                             King of Prussia, PA 19406
                                             610-354-8259/610-354-8453
                                             Fax: 610-354-8299
                                             m!riley'a{mdwcg.com; makrengel@mdwcg.com
                                             Attorneys for Defendant, Safety Bus
                                             Service, Inc.
DATE: March 13,2019
           Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 5 of 12



                                        VERIFICATION

         MICHELE A. KRENGEL, ESQUIRE hereby verifies that she is the attorney for

Defendant, Safety Bus Service, Inc. in the aforementioned matter; that the facts set forth in the

foregoing Notice of the Removal of the above captioned action to this Court pursuant to 28

U.S.C. § 1441 and§ 1446 and the same are true and correct to the best of his knowledge,

information and belief; and that these statements are made subject to the penalties relating to

unswom falsification to authorities.



Dated:         03113119
         ~~~~""--"-'--~~~~
                                                     :vIAK7222
                                                     MICHELE A. KRENGEL
Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 6 of 12




                      EXI IIBIT "A"
                       Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 7 of 12



           Court of Common Pleas of Philadelphia County
                         Trial Division
                       Civil Cover Sheet
    PLAINTlrPs NAM!;                                                                                                    ' DEFENDANrS l>lloME
        PAUL:NE     HARRIS                                                                                                     SAFETY BUS SERVICE, INC.

                  M""•--·--·'""'-'"'
. PLAINTIFF'S ADDRESS                                                                                                       DE:f:ENDANrs ADDRESS
' 927 EAST SEDGWICK STREET                                                                                                     1713 MARKET STREET SUITE 38
: PHILADELPHIA PA 19140                                                                                                        PHI:ADELPHIA PA 19103
!
rPLAiNTI,;;~-~ME
l
                                                                                                                            DEFENDANrS NAME



                                                                                                                                                                                                                                                            "~t


                                                                                                                            DEFENDANT"SADORESS                                                                                                                I
    PLAINTIFF'S ADDRESS




' PLAINTIFF'S NAME                                                                                                          DEFENDANrs l'IAME
'
fPL...iNi..FPS-ADDRESS                                                                                                      DEFENO>.NrsADDRESS
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        2V - MOTOR VEHICLE ACCIOtN~ .                                                                                          ''-·               ' i :'"'



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i RELATED PENDING CASES (UST IY CASE CAPTION AND DOCKET N\llAl!IEFI)                                                                                                                     1$ CASE SU5JECT TO
                                                                                                                                                                                         COORDINATION ORDER?
                                                                                                                                                                                                     YES

                                                                                                      FEB 18 2019
                                                                                                                    M.BRYANT
. TO THE PROTHONOTARY:
' Kindly enter my appearance on behalf of Plamtiff/Petitioner/Appellant: PAUL I N:E                                                                                           HARRIS
1
    Papers may be served at the address set forth below

1 NAME Of PlAJNTFF'S/PETITIONER'SIAPPELLANl"S ATTORNEY                                                                  , ADDRESS

        ELIZABETH A.            SAVIT~                                                                                        34 ROCK HILL RCAD
                                                                                                                              BALA CYNWYD PA 19004
    PHONE NUMBER                                       l FAXN\JMBER.
        (610)664-6730                                  . (610) 664-6511

I                           "
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        35654                                                                                                                 EASESQ@AOL.COM
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        ELIZABETH SAVITT                                                                                                , Monday, February 18, 2019, 08:02 am
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            Case 5:19-cv-01055-JLS Document 1 Filed 03/13/19 Page 8 of 12




ELIZABETH A. SAVITI, ESQUIRE
I.D. No.: 35654
34 Rock Hill Road
Bala Cynwyd, PA 19004
(610) 664-6730

PAULINE HARRIS                                                                             COURT OF COMMON PLt
927 East Sedgwick Street                                                                   PHILADELPHIA COUNTY
Philadelphia, PA 19140
            Plaintiff

                            vs.

SAFETY BUS SERVICE, INC.                                                                   FEBRUARY                            TERM, 2019
1713 Market Street
Suite 38
Philadelphia, PA                          19103                                            NO. 001677
                                                                  CIVIL ACTION COMPLAINT
                                                                2-V MOTOR VEHICLE ACCIDENT

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                                                                                                                                                                         Case ID:          190201677
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ELIZABETH A. SAVITT, ESQUIRE                   THIS IS A MAJOR CASE
I.D. No.: 35654                                JURY TRIAL DEMANDED
34 Rock Hill Road
Bala Cynwyd, PA 19004                          Attorney for Plaintiff
610) 664-6730

PAULINE HARRIS                                         COURT OF COMMON PLEAS
927 E. Sedgwick St.                                    PHILADELPHIA COUNTY
Philadelphia, PA 19140
               Plaintiff
                                                        FEBRUARY            TERM,2019
                vs.

SAFETY BUS SERVICE, INC.                               NO. 001677
1713 Market St., Suite 38
Philadelphia, PA 19103

                                  ~OMPLAINT - CIVIL ACTION
                                2V- MOTOR VEHICLE ACCIDENT


        1. The plaintiff, Pauline Hams, is an adult individual residing at the above-captioned address.

       2. The defendant, Safety Bus Service, Inc. (hereinafter "Safety''), is a corporation licensed to
transact business in the Commonwealth of Pennsylvania with an office at the above address.
        3. At all times relevant hereto, plaintiff, Pauline Harris, was a passenger   on an MCI bus
model number 1450 (hereinafter the "Safety bus") involved in the accident at issue herein.

        4. At all times relevant hereto, defendant, Safety, owned and maintained, and controlled the
Safety bus involved in the accident at issue herein.

        5. At all times relevant hereto, the Safety bus was operated and controlled by its agent,
servant, workman and/or employee of defendant Safety acting within the course and scope of his
employment with defendant Safety.
       6. On or about September 21, 2018, at or about 3 :00 p.m, the Safety vehicle was travelling in
Lancaster County in the Commonwealth of Pennsylvania, when the bus operator, actmg within and

the course and scope of his employment with defendant Safety, suddenly and without warning,
slammed on the brakes, as a result of which the plaintiff, Pauline Hams, suffered severe personal
injuries, all of which are or may be permanent, hereinafter described at length.




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       7. The negligence, recklessness and carelessness of defendant Safety, by and through its

agent, servant, workman, and/or employee acting within the course and scope of his employment,

consisted of the following:
                  a.      operating said motor vehicle at a high and excessive rate of speed under the

circumstances;
                  b. failing to have the said vehicle under proper and adequate control at the time;
                  c. operating said vehicle without due regard for the rights and safety of the plaintiff

at the pomt aforesaid;
                  d. failing to give proper and sufficient warning of the approach of said vehicle;

                  e. failing to keep a proper lookout;

                  f. failing to yield the right of way;

                  g. operating said vehicle in violation of the ordinances of the County of Lancaster
and the statutes of the Commonwealth of Pennsylvania;
                  h. being otherwise negligent, careless or reek.less under the circumstances as may be
revealed through discovery.

       8.    The negligence, recklessness and carelessness of defendant, Safety, consisted of the
following:
                  a. any and all acts of negligence attributable to its agent, workman, servant, and/or

employee;

                  b. allowing its agent, servant, workman, ai1d/or employee to operate the Safety

vehicle when defendant Safety knew or should have known he was unqualified to operate the

Safety vehicle;

                  c. failing to sufficiently supervise its agent, servant, workman and/or employee;

                  d. being otherwise negligent, careless or reckless under the circumstances as may

be revealed through discovery.

                                                  - 2 -


                                                                                                Case ID: 190201677
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        9.     As a result of the negligence, carelessness and recklessness of the defendant, plaintiff,

Pauline Harris, sustained injuries, all of which are or may be permanent, including, but not limited to,

fractures of the left transverse processes ofT8, T9, and Tl 0, fractures of left ribs 7 through 11, a tom
rotator cuff of the left shoulder, left shoulder subacromial bursitis, and various other ills and injuries.
          I 0. As a further result of the said accident, plaintiff, Pauline Hams, has been and will be
obliged to receive and undergo medical attention and care and to incur various expenses, and she may
be obliged to continue to expend such sums or incur such expenses for an indefinite period of time in

the future.

        11. As a further result of the aforesaid, the plamtiff, Pauline Harris, has undergone great

mental pain and suffering and will in the future undergo great mental pain and suffering.
        12. As a further result of the aforesaid, plaintiff, Pauline Harris, has been and will continue

in the future to be hindered and prevented from attending to her usual duties, avocations and

occupation, all of which have caused him and may in the future cause her to sustain a loss of eammgs
and/or earning power, to her great financial detriment and loss.

        13. Solely by the negligence, carelessness and recklessness of the defendant hereinabove

alleged, the plaintiff, Pauline Harns, will in the future be obliged to expend large and various sums of
money for medicine and medical attention in and about endeavoring to treat and cure said mental and
emotional injuries.

        WHEREFORE, Plaintiff, Pauline Harris, demands judgment against the defendant, ar..d in a
sum in excess of Fifty Thousand ($50,000.00) Dollars, plus costs.



                                                           BY:  s.ULLti
                                                             ELIZABETH A. SAVITT, ESQUIRE
                                                             Attorney for Plaintiff


Date: _       &.Uil\_c1.·- -··--
                                                 -   3 -



                                                                                                  Case ID:    190201677
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                               VERIFICATION

             I, PAULINE HARRIS, plaintiff herein, verify that the statements
made m the foregoing Complaint are true and correct to the best of my knowledge
and information. I also understand the statements herein are made subject to
the penalties of 18 Pa. C.S.A. Section 4904 relating to unsworn falsification to
authorities.




Dated:d_:_i   a_j]_




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